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     Pollution Clothing LLC
  15 and Jordan Scott Wunder
  16
                          UNITED STATES DISTRICT COURT
  17
                        CENTRAL DISTRICT OF CALIFORNIA
  18
                                  WESTERN DIVISION
  19
  20 POLLUTION DENIM & CO., a                Case No.: CV 07-05208 MMM (JWJx)
  21 California Corporation,                 Hon. Margaret M. Morrow
                           Plaintiff,
  22
                                             DEFENDANTS POLLUTION
  23         vs.                             CLOTHING LLC’S AND JORDAN
                                             SCOTT WUNDER’S FIRST
  24 POLLUTION CLOTHING CO. et al.,
                                             AMENDED ANSWER TO
  25                Defendants.              PLAINTIFF’S FIRST AMENDED
                                             COMPLAINT
  26 POLLUTION CLOTHING LLC, an
  27 Oklahoma Limited Liability Company,
     and JORDAN SCOTT WUNDER, an
  28
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   1 individual,
                            Counterclaimants,
   2
   3          vs.
   4
     POLLUTION DENIM & CO., a
   5 California Corporation, EYAL ALLEN
     DAHAN, an individual, and
   6
     CAVALIER SPORTSWEAR INC., a
   7 California Corporation,
                         Counterdefendants.
   8
   9
  10                                       ANSWER

  11        Defendants Pollution Clothing LLC and Jordan Scott Wunder (“Defendants”),

  12 for their Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint
  13 (“Complaint”), plead as follows:
  14                            JURISDICTION AND VENUE

  15        1.      Defendants admit that Plaintiff purports to assert claims arising under

  16 the Lanham Act but deny that those claims have any validity or that Plaintiff is
     entitled to the relief sought.
  17
            2.     Defendants admit that the Court has subject matter jurisdiction.
  18
            3.     Defendants deny each and every allegation in paragraph 3.
  19
                                            PARTIES
  20
  21        4.      Defendants are without knowledge or information concerning the
  22 details of Plaintiff’s organization, and therefore are unable to admit or deny these
  23 allegations.
  24        5.      Defendants admit that Pollution Clothing LLC is an Oklahoma limited
  25 liability company organized and existing under the laws of the State of Oklahoma
  26 with its principal place of business at 8212 Golden Oaks, Oklahoma City, Oklahoma
  27 73127. Except as expressly admitted, the allegations in paragraph 5 are denied.
  28
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   1         6.     Defendants admit that Jordan Scott Wunder is an individual residing in
   2 Oklahoma and that he is the owner of a company called Pollution Clothing LLC.
   3 Otherwise denied.
   4         7.     Defendants admit that Spirituali, Inc., is a retailer operating in
   5 California, but Defendants are without knowledge or information concerning the
   6 details of the organization of Spirituali, Inc., and therefore are unable to admit or
   7 deny these allegations.
   8         8.     Defendants admit that Planet Funk is a retailer operating in California,
   9 but Defendants are without knowledge or information concerning the details of the
  10 organization of Planet Funk and therefore are unable to admit or deny these
  11 allegations.
  12         9.     Defendants admit that Ryzen-7 is a retailer operating in California, but
  13 Defendants are without knowledge or information concerning the details of the
  14 organization of Ryzen-7 and therefore are unable to admit or deny these allegations.
  15         10.    Defendants are without knowledge or information sufficient to form a
  16 belief as to the truth of these allegations.
  17                    CLAIMS RELATED TO “POLLUTION” MARK
  18         11.    Defendants deny each and every allegation in paragraph 11.
  19         12.    The allegations in the first sentence are denied. The allegations in the
  20 second sentence are admitted. Defendants are without knowledge or information
  21 sufficient to form a belief as to the truth of the allegations in the third sentence.
  22         13.    Admitted.
  23         14.    Defendants are without knowledge or information sufficient to form a
  24 belief as to the truth of the allegations in paragraph 14.
  25         15.    The allegations in the first sentence are admitted. As to the second
  26 sentence, Defendants admit that the mark “Pollution Clothing” was registered with
  27 the State of Oklahoma on December 19, 2005. All other allegations are denied.
  28         16.  Defendants deny each and every allegation in paragraph 16.
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   1         17.   Defendants admit that they received certain letters from the Doniger
   2 Law Firm relating to the use of the designation “Pollution Clothing,” which letters
   3 speak for themselves. Otherwise denied.
   4         18.   Defendants deny each and every allegation in paragraph 18.
   5         19.   Defendants are without knowledge or information sufficient to form a
   6 belief as to the truth of the allegations in paragraph 19.
   7         20.   Defendants deny each and every allegation in paragraph 20.
   8         21.   Defendants deny each and every allegation in paragraph 21.
   9         22.   Defendants deny each and every allegation in paragraph 22.
  10                             FIRST CLAIM FOR RELIEF
  11       (For Trademark Infringement Under Lanham Act § 32- Against All Defendants,
  12                                     and Each of Them)
  13         23.   The responses to paragraphs 1 through 22 are incorporated by
  14 reference.
  15         24.   Defendants deny each and every allegation in paragraph 24.
  16         25.   Defendants deny each and every allegation in paragraph 25.
  17         26.   Defendants deny each and every allegation in paragraph 26.
  18         27.   Defendants admit that Pollution Clothing LLC has advertised and sold
  19 goods in interstate commerce from Oklahoma, and that its goods are available for
  20 purchase from its website.        Otherwise Defendants are without knowledge or
  21 information sufficient to form a belief as to the truth of the allegations in paragraph
  22 27.
  23         28.   Defendants deny each and every allegation in paragraph 28.
  24         29.   Defendants deny each and every allegation in paragraph 29.
  25         30.   Defendants deny each and every allegation in paragraph 30.
  26         31.   Defendants deny each and every allegation in paragraph 31.
  27         32.   Defendants deny each and every allegation in paragraph 32.
  28         33.  Defendants deny each and every allegation in paragraph 33.
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   1         34.    Defendants deny each and every allegation in paragraph 34.
   2                           SECOND CLAIM FOR RELIEF
   3        (For Unfair Competition Under Lanham Act § 43 – Against All Defendants,
   4                                      Each of Them)
   5         35.    The responses to paragraphs 1 through 34 are incorporated by
   6 reference.
   7       36.      Defendants deny each and every allegation in paragraph 36.
   8         37.    Defendants deny each and every allegation in paragraph 37.
   9         38.    Defendants deny each and every allegation in paragraph 38.
  10         39.    Defendants deny each and every allegation in paragraph 39.
  11                            THIRD CLAIM FOR RELIEF
  12       (For Common Law Trademark Infringement Against All Defendants, and Each
  13                                         of Them)
  14
             40.    The responses to paragraphs 1 through 39 are incorporated by
  15
       reference.
  16
             41.    Defendants deny each and every allegation in paragraph 41.
  17
             42.    Defendants deny each and every allegation in paragraph 42.
  18
             43.    Defendants deny each and every allegation in paragraph 43.
  19
             44.    Defendants deny each and every allegation in paragraph 44.
  20
                                FOURTH CLAIM FOR RELIEF
  21
             (For Unfair Competition Under California Business And Professions Code
  22
                      § 17200 et seq. – Against All Defendants Each of Them)
  23
  24         45.    The responses to paragraphs 1 through 44 are incorporated by

  25 reference.
  26       46.      Defendants deny each and every allegation in paragraph 46.

  27         47.    Defendants deny each and every allegation in paragraph 47.

  28
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   1                               FIFTH CLAIM FOR RELIEF
   2                (For False Description, Against All Defendants, and Each of Them)
   3         48.      The responses to paragraphs 1 through 47 are incorporated by
   4 reference.
   5       49.        Defendants deny each and every allegation in paragraph 49.
   6         50.      Defendants deny each and every allegation in paragraph 50.
   7                               SIXTH CLAIM FOR RELIEF
   8        (For Common Law Injury to Business Reputation and Economic Advantage,
   9                           Against All Defendants, and Each of Them)
  10
             51.      The responses to paragraphs 1 through 50 are incorporated by
  11
       reference.
  12
             52.      Defendants deny each and every allegation in paragraph 52.
  13
  14
                                   AFFIRMATIVE DEFENSES
  15
             Further answering the Complaint and as additional defenses thereto,
  16
       Defendants assert the following Affirmative Defenses, without assuming the burden
  17
       of proof when such burden would otherwise be on Plaintiff.
  18
                                FIRST AFFIRMATIVE DEFENSE
  19
                                    (Lack of Personal Jurisdiction)
  20
             53.      The Court does not have personal jurisdiction over Defendant Jordan
  21
       Scott Wunder.
  22
                               SECOND AFFIRMATIVE DEFENSE
  23
                                      (Failure to State a Claim)
  24
             54.      Plaintiff’s Complaint fails to state a claim against Defendants upon
  25
       which relief can be granted.
  26
  27
  28
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   1                         THIRD AFFIRMATIVE DEFENSE
   2                                       (Standing)
   3        55.    Plaintiff lacks standing to assert one or more of its claims against
   4 Defendants.
   5                        FOURTH AFFIRMATIVE DEFENSE
   6                                        (Laches)
   7        56.    Plaintiff’s claims are barred, in whole or in part, by the doctrine of
   8 laches.
   9                         FIFTH AFFIRMATIVE DEFENSE
  10                                        (Waiver)
  11        57.    Plaintiff’s claims are barred, in whole or in part, by the doctrine of
  12 waiver.
  13                         SIXTH AFFIRMATIVE DEFENSE
  14                                        (Estoppel)
  15        58.    Plaintiff’s claims are barred, in whole or in part, by the doctrine of
  16 estoppel.
  17                       SEVENTH AFFIRMATIVE DEFENSE
  18                                    (Unclean Hands)

  19        59.    Plaintiff’s claims are barred, in whole or in part, by its unclean hands

  20 concerning the subject matter of this action, including but not limited to the acts
  21 described in the following paragraph.
  22                        EIGHTH AFFIRMATIVE DEFENSE

  23                                  (Fraud and Illegality)

  24        60.    Plaintiff’s claims are barred, in whole or in part, by Plaintiff’s illegal

  25 and fraudulent acts. Plaintiff, acting through its owner and president, Eyal Allen
  26 Dahan, has with fraudulent intent engaged in a course of conduct with the deliberate
  27 intent of obstructing and perverting the course of justice and misleading the Court
  28 and the United States Patent and Trademark Office concerning their dates of first
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   1 use of the mark “Pollution.” Among other acts, Plaintiff and Mr. Dahan have forged
   2 and falsified commercial documents, including sales invoices, in an effort to create
   3 the false impression that Plaintiff and Mr. Dahan or a related Dahan-owned
   4 corporation, Cavalier Sportswear Inc., were using the term “Pollution” in connection
   5 with the offering and sale of wearing apparel at a date earlier than Defendants, and
   6 at a date earlier than the true date when any of them had actually adopted or used
   7 that term. Plaintiff and Mr. Dahan have used such forged documents and committed
   8 such fraudulent acts in a scheme to extort money from Defendants. In addition,
   9 Mr. Dahan has committed perjury in this case by falsely stating under oath the
  10 length of time that Plaintiff Pollution Denim & Co. has existed.
  11                          NINTH AFFIRMATIVE DEFENSE
  12                                        (Prior Use)
  13         61.    Plaintiff’s claims are barred, in whole or in part, because the use of
  14 “Pollution Clothing” by Defendants is prior in time to Plaintiff’s use of its alleged
  15 name and marks.
  16                          TENTH AFFIRMATIVE DEFENSE
  17                                  (Statute of Limitations)
  18
             8.     Defendants rely on any applicable statute of limitations as a bar to
  19
       Plaintiff’s claims.
  20
                                       COUNTERCLAIM
  21
             Based on actual knowledge as to itself and its own actions and upon
  22
       information and belief as to all other persons and matters, Defendants Pollution
  23
       Clothing LLC and Jordan Scott Wunder (“Defendants” or “Counterclaimants”) for
  24
       their Counterclaims against Pollution Denim & Co, Eyal Allen Dahan, and Cavalier
  25
       Sportswear Inc. (“Counterdefendants”), allege as follows:
  26
  27
  28
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   1                                       PARTIES
   2        1.     Defendant and Counterclaimant Pollution Clothing LLC is an
   3 Oklahoma limited liability company with its principal place of business in
   4 Oklahoma City, Oklahoma.
   5        2.     Defendant and Counterclaimant Jordan Scott Wunder is an individual
   6 residing in Oklahoma City, Oklahoma.
   7        3.     Plaintiff and Counterdefendant Pollution Denim & Co. is a California
   8 corporation with its principal place of business in Los Angeles, California.
   9        4.     Counterdefendant Eyal Allen Dahan (“Dahan”) is a citizen of
  10 California residing and doing business in Los Angeles, California.
  11        5.     Counterdefendant Cavalier Sportswear Inc. is a California corporation
  12 with its principal place of business in Los Angeles, California.
  13                            JURISDICTION AND VENUE
  14        6.     These claims arise under the Declaratory Judgments Act, 28 U.S.C.
  15 § 2201, the Lanham Act, 15 U.S.C. § 1051 et seq., California state law and other
  16 state law, such as Oklahoma, and under common law.
  17        7.     This Court has subject matter jurisdiction pursuant to 15 U.S.C. § 1121
  18 and 28 U.S.C. §§ 1331 and 1338. The Court also has supplemental jurisdiction over
  19 the state law claims under 28 U.S.C. § 1367(a).
  20        8.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) and (c)
  21 because Counterdefendants reside, do business, and are subject to personal
  22 jurisdiction here, and because a substantial part of the events or omissions giving
  23 rise to the claims occurred here.
  24                             FACTUAL BACKGROUND
  25        9.     Defendant Jordan Scott Wunder is the founder, president, and sole
  26 owner and employee of Pollution Clothing LLC. He adopted the mark “Pollution
  27 Clothing” for use in the sale of clothing at least as early as February 2005, and in
  28 March 2005 he began selling clothing under that mark in Oklahoma.
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    1        10.    Mr. Wunder’s “Pollution Clothing” business operated continuously
    2 from that point forward and continued to grow. By August 2005, Mr. Wunder was
    3 offering, promoting and marketing apparel marked “Pollution Clothing” to
    4 consumers nationally through the Internet.
    5        11.    On September 22, 2005, Mr. Wunder incorporated Pollution Clothing
    6 LLC in the State of Oklahoma to carry on the “Pollution Clothing” business.
    7        12.    On December 19, 2005, Mr. Wunder registered the mark “Pollution
    8 Clothing” as a trademark in the State of Oklahoma, Registration No. 12091112.
    9        13.    Following the formation of Pollution Clothing LLC, Mr. Wunder
   10 continued to design, market and sell apparel marked “Pollution Clothing” through
   11 his company by in-person sales at trade shows, through various stores, and through
   12 Internet sales. The marketing and sale of “Pollution Clothing” apparel continued
   13 until the temporary restraining order was entered in this case.
   14        14.    On November 28, 2005, an application to register the mark “Skin
   15 Pollution” for various types of apparel was filed in the United States Patent and
   16 Trademark Office by a predecessor-in-interest of Counterdefendant Pollution Denim
   17 & Co. The “Skin Pollution” application was filed as an intent-to-use application.
   18 The applicant subsequently filed evidence of use claiming a date of first use in
   19 commerce of January 8, 2006. The registration subsequently issued on December 5,
   20 2006, as Registration No. 3,180,361.
   21        15.    Mr. Wunder’s adoption and use of the mark “Pollution Clothing” for
   22 apparel, as described above, including the national business presence established by
   23 the offering and promotion of “Pollution Clothing” apparel over the Internet,
   24 predates the filing date of the “Skin Pollution” trademark registration.
   25        16.    On    June   22,   2006,   Eyal    Allen   Dahan,    the     president   of
   26 Counterdefendant Pollution Denim & Co., filed an application under Serial No.
   27 78/915016 to register “Pollution Denim & Co.” as a trademark for apparel. The
   28 application was filed as an intent-to-use application. In an Office Action dated
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    1 December 5, 2006, the trademark examiner initially refused registration in light of
    2 existing registrations for “Denim & Co.” and “Denim & Co. Easy Care.” The
    3 examiner also took notice of then-pending application Serial No. 78/761164 for
    4 “Skin Pollution,” stating that there “may be a likelihood of confusion between the
    5 two marks,” and indicating that the examiner “may refuse registration” of “Pollution
    6 Denim & Co.” if the “Skin Pollution” application matured into a registration.
    7        17.   On February 12, 2007, Counterdefendants’ attorney filed a response on
    8 behalf of Pollution Denim & Co. asserting that “there is no likelihood of Confusion
    9 between Applicant’s mark [Pollution Denim & Co.] and the pending registration of
   10 ‘Skin Pollution.’” The trademark examiner accepted this argument and, in an Office
   11 Action of April 7, 2007, withdrew the citation of the “Skin Pollution” application,
   12 refusing registration solely on the basis of the registrations for “Denim & Co.” and
   13 “Denim & Co. Easy Care.”
   14        18.   On November 9, 2006, Counterdefendants’ attorney sent a letter to
   15 Counterclaimants alleging infringement of Counterdefendant Pollution Denim &
   16 Co.’s mark. On December 11, 2006, Counterclaimants’ attorney e-mailed a letter to
   17 Counterdefendants’ attorney stating that the “Pollution Clothing” mark had been in
   18 use since at least June 6, 2005, and asking for information concerning the earliest
   19 dates of use by Pollution Denim & Co. Counterdefendants’ attorney did not provide
   20 the requested dates, but instead sent another cease-and-desist letter dated December
   21 11, 2006. Counterclaimant heard nothing more from Plaintiff until July 2007.
   22        19.   On December 19, 2006, eight days after Counterclaimants’ attorney
   23 had e-mailed Counterdefendants’ attorney stating that the “Pollution Clothing” mark
   24 had been in use since at least June 6, 2005, Counterdefendants’ attorney filed a
   25 trademark application on behalf of Eyal Allen Dahan in the U.S. Patent and
   26 Trademark Office for the mark “Pollution,” Application Serial No. 77067893,
   27 claiming a date of first use of May 5, 2005, and a date of first use in commerce of
   28 June 7, 2005. Those dates are substantially earlier than any date previously claimed
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    1 by Counterdefendants for any mark containing the term “Pollution.” On information
    2 and belief, Counterdefendants knew those dates to be false when Application Serial
    3 No. 77067893 was filed. Nevertheless, those dates turned out to be later than Jordan
    4 Wunder’s use of “Pollution Clothing” in March 2005.
    5        20.    When Counterdefendants learned after filing this lawsuit that
    6 Counterclaimants’ use still preceded their newly-claimed dates of first use in
    7 Application Serial No. 77067893, Counterdefendants embarked on a fraudulent
    8 scheme to backdate their use of the “Pollution” mark still further in order to show a
    9 purported use date for the mark “Pollution” earlier than the dates established by
   10 Counterclaimants for “Pollution Clothing.”
   11        21.    In furtherance of their fraudulent scheme, Counterdefendants took
   12 invoices for the sale of other merchandise and altered the descriptions of the goods
   13 sold to indicate that they were for “Pollution” apparel. Counterdefendants then
   14 claimed to have discovered “substantial” new evidence of use of the “Pollution”
   15 mark, going back to 2004, by Cavalier Sportswear Inc., another company owned
   16 Mr. Dahan. Acting through Mr. Dahan, Counterdefendants also have contacted one
   17 or more potential third-party witnesses in an effort to get them to say that Mr. Dahan
   18 was selling “Pollution” merchandise before Counterdefendants had ever offered any
   19 such merchandise for sale.
   20        22.    In further pursuit of Counterdefendants’ fraudulent scheme to claim an
   21 earlier date of use, Mr. Dahan, in a USPTO filing dated November 26, 2007,
   22 amended the claimed dates of first use in Application Serial No. 77067893 to
   23 change them from May 5 and June 7, 2005, to December 8, 2004.
   24        23.    On or about August 10, 2007, Counterdefendant Pollution Denim &
   25 Co. filed this lawsuit against Counterclaimants Pollution Clothing LLC and Jordan
   26 Wunder, and various named and unnamed retailers. At the same time,
   27 Counterdefendants sought and obtained a temporary restraining order prohibiting
   28
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    1 Counterclaimants from, among other things, offering or selling any “goods” bearing
    2 the mark “Pollution.”
    3          24.   On information and belief, Counterdefendants’ lawsuit was timed to
    4 coincide with the August 2007 Pool Trade Show in Las Vegas, one of the biggest
    5 trade shows of the year, in order to cause the maximum disruption to
    6 Counterclaimants’ business and to relationships with customers.
    7          25.   In carrying out their scheme to disrupt Counterclaimants’ business and
    8 to interfere with Counterclaimants’ relationships with customers, Counterdefendants’
    9 attorney and Counterdefendant Dahan submitted declarations to the Court that both
   10 omitted and misrepresented material facts. Among other things, Counterdefendants
   11 failed to tell the Court of the fact, known to them, that Counterclaimants had been
   12 doing business under the “Pollution Clothing” mark from a time prior to any date
   13 offered in evidence by Counterdefendants in support of a request for a restraining
   14 order.     In addition, Counterdefendants’ attorney and Counterdefendant Dahan
   15 misrepresented the actions of the trademark examiner in refusing registration for
   16 “Pollution Denim & Co.” Instead of telling the Court that the examiner apparently
   17 had agreed with their argument that there was no likelihood of confusion between
   18 “Pollution Denim & Co.” and “Skin Pollution” and had withdrawn the citation of
   19 that mark, Counterdefendants stated that registration had been refused on the basis
   20 of the “Skin Pollution” mark. On information and belief, this was done to convince
   21 the Court that confusion was likely between “Pollution Clothing” and “Skin
   22 Pollution.”
   23                      FIRST COUNTERCLAIM FOR RELIEF
   24            (Declaratory Judgment of Non-Infringement of Trademark against
   25                           Pollution Denim & Co. and Dahan)
   26          26.   The allegations in the preceding paragraphs are incorporated by
   27 reference.
   28
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    1        27.    Counterdefendant     Pollution    Denim      &    Co.    has    charged
    2 Counterclaimants with infringing its trademarks and otherwise violating
    3 Counterdefendants’ rights. A justiciable controversy therefore exists between the
    4 parties.
    5        28.    Counterclaimants have not infringed any trademark or other rights of
    6 Counterdefendant Pollution Denim & Co.
    7        29.    Counterclaimants request that the Court declare that the use of the
    8 “Pollution Clothing” name and mark is not likely to cause confusion with
    9 Counterdefendants’ marks, that it does not infringe or otherwise violate any
   10 trademark rights or other rights of Counterdefendants, and that Counterclaimants
   11 have the right to use the “Pollution Clothing” name and mark for wearing apparel
   12 throughout the United States.
   13        30.    Counterclaimants further request that the Court declare that their rights
   14 to “Pollution Clothing” for wearing apparel are superior to any rights of
   15 Counterdefendants in the marks “Pollution Denim & Co.,” “Skin Pollution,” or any
   16 other mark containing the term “Pollution.”
   17        31.    Counterclaimants further request that the Court declare that
   18 Counterdefendant Dahan is not entitled to registration of the mark “Pollution” in the
   19 U.S. Patent and Trademark Office as sought in Application Serial No. 77067893.
   20                    SECOND COUNTERCLAIM FOR RELIEF
   21    (Unfair Competition/Trademark Infringement/False Designation of Origin under
   22         15 U.S.C. § 1125 (a)(1)(A) against Pollution Denim & Co. and Dahan)
   23        32.    The allegations in the preceding paragraphs are incorporated by
   24 reference.
   25        33.    Although Counterclaimants deny that there is any likelihood of
   26 confusion between Counterclaimants’ and Counterdefendants’ respective names and
   27 marks, Counterclaimants plead in the alternative that, if a likelihood of confusion is
   28 found, Counterclaimants rights are superior to any rights of Counterdefendants. In
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    1 that event, in view of Counterclaimants’ prior use in some or all of the territories
    2 where Counterclaimants and Counterdefendants do business, Counterdefendants’
    3 use of the marks at issue infringes Counterclaimants’ rights in violation of Section
    4 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), in any territories where
    5 Counterclaimants have prior rights.
    6         34.   Still pleading in the alternative, Counterdefendant Dahan has directed,
    7 controlled, and personally participated in Counterdefendant Pollution Denim &
    8 Co.’s Lanham Act violations, and he is personally liable for those acts.
    9         35.   Counterdefendants’ conduct alleged herein infringes Counterclaimants’
   10 common law trademark rights, and constitutes common law trademark infringement
   11 of Counterclaimants’ proprietary rights, as well as false designation of origin, false
   12 or misleading representation of fact and/or unfair competition.
   13         36.    Counterclaimants have suffered, and, if Counterdefendants are not
   14 enjoined from their wrongful acts of trademark infringement, false designation of
   15 origin, false or misleading representation of fact and/or unfair competition as
   16 described herein, Counterclaimants will continue to suffer great and irreparable
   17 injury, loss and damage to its rights in and to the Pollution Clothing mark and the
   18 goodwill associated therewith, for which it has no adequate remedy at law.
   19         37.   Due to the acts of Counterdefendants, Counterclaimants have suffered
   20 and will continue to suffer losses, including loss of business opportunities, and, if
   21 not preliminarily and permanently enjoined, Counterdefendants will have unfairly
   22 derived and will continue to unfairly derive income, profits and business
   23 opportunities as a result of their acts of infringement.
   24         38.   As the acts alleged herein violate Section 43(a) of the Lanham Act, 15
   25 U.S.C. § 1125(a), and as Counterclaimants have no adequate remedy at law,
   26 Counterclaimants are entitled to injunctive relief as well as monetary damages and
   27 other remedies provided by 15 U.S.C. §§ 1116, 1117 and 1118, including
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    1 Counterdefendants’ profits, treble damages, reasonable attorneys’ fees, costs and
    2 prejudgment interest.
    3                      THIRD COUNTERCLAIM FOR RELIEF
    4                    (State and Common Law Trademark Infringement
    5                       Against Pollution Denim & Co. and Dahan )
    6         39.   Counterclaimants reallege and incorporate by reference each and every
    7 allegation contained in each of the above paragraphs as if fully set forth herein.
    8         40.   Although Counterclaimants deny that there is any likelihood of
    9 confusion between Counterclaimants’ and Counterdefendants’ respective names and
   10 marks, Counterclaimants plead in the alternative that, if a likelihood of confusion is
   11 found, Counterclaimants’ rights are superior to any rights of Counterdefendants. In
   12 that event, in view of Counterclaimants’ prior use in some or all of the territories
   13 where Counterclaimants and Counterdefendants do business, Counterdefendants’
   14 use of the marks at issue infringes Counterclaimants’ state and common law rights.
   15         41.   Still pleading in the alternative, Counterdefendants’ use of the marks at
   16 issue in connection with the offering and sale of clothing under those marks in
   17 Oklahoma infringes Counterclaimants’ registered “Pollution Clothing” mark in the
   18 State of Oklahoma.
   19         42.   Still pleading in the alternative, Counterdefendant Dahan has directed,
   20 controlled and personally participated in Counterdefendants’ acts of infringement
   21 and he is personally liable for those acts.
   22         43.   In the event a likelihood of confusion and infringement are found,
   23 Counterclaimants are entitled to recover their actual damages, any profits resulting
   24 from the infringement, a permanent injunction, impoundment and destruction of any
   25 infringing goods, and exemplary damages as permitted by law.
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    1                     FOURTH COUNTERCLAIM FOR RELIEF
    2     (Common Law Unfair Competition Against Pollution Denim & Co., Dahan, and
    3                                  Cavalier Sportswear)
    4        44.    Counterclaimants reallege and incorporate by reference each and every
    5 allegation contained in each of the above paragraphs as if fully set forth herein.
    6        45.    Further, on information and belief, Counterdefendants filed this lawsuit
    7 and    subsequent    temporary    restraining   order   with   the   aim   of    injuring
    8 Counterclaimants, depleting their resources, and by attempting to force them out of
    9 business before they could be heard in court. These acts were willful, deliberate, and
   10 done with malice, as shown by, among other things, Counterdefendants’ failure to
   11 tell the Court, in declarations submitted to this Court, of Counterclaimants’ prior use
   12 of “Pollution Clothing”, their misrepresentation of the length of time that Plaintiff
   13 has been in existence, the forgery of commercial documents in a fraudulent effort to
   14 assert a date of first use of “Pollution” prior to Counterclaimants’ use of “Pollution
   15 Clothing,” and the use of fraud and forged documents as part of a scheme to extort
   16 money from Counterclaimants.
   17        46.    Counterdefendants, by doing the acts alleged herein, have engaged in
   18 unfair competition under the common law of California and other states, such as
   19 Oklahoma.
   20        47.    As a result of Counterdefendants’ wrongful acts, Counterclaimants
   21 have suffered and will continue to suffer loss of income, profits and valuable
   22 business opportunities, and, if not preliminarily and permanently enjoined,
   23 Counterdefendants will have unfairly derived and will continue to unfairly derive
   24 income, profits and business opportunities as a result of their wrongful acts.
   25        48.    Counterdefendants’ wrongful conduct described above was oppressive,
   26 fraudulent and malicious, entitling Counterclaimants to an award of punitive and
   27 exemplary damages in a sum sufficient to punish and make an example of
   28 Counterdefendants.
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    1                      FIFTH COUNTERCLAIM FOR RELIEF
    2       (California Statutory Unfair Competition (Cal. Bus. & Prof. Code §17200)
    3           Against Pollution Denim & Co., Dahan, and Cavalier Sportswear)
    4        49.    The allegations in the preceding paragraphs are incorporated by
    5 reference.
    6        50.    Counterdefendants’ acts and practices, as alleged above, constitute
    7 unfair competition in violation of Cal. Bus. & Prof. Code §17200 et seq.
    8 Counterdefendants have engaged in unlawful, unfair or fraudulent business practices
    9 within the meaning of Cal. Bus. & Prof. Code §17200.
   10        51.    On information and belief, Counterdefendants performed the above-
   11 mentioned acts for the purpose of injuring Counterclaimants and extorting money
   12 from them. The above-described acts continue to this day and present a threat to
   13 Counterclaimants and the general public, the trade and consumers.
   14        52.    As a result of Counterdefendants’ wrongful acts, Counterclaimants
   15 have suffered and will continue to suffer loss of income, profits and valuable
   16 business opportunities, and, if not preliminarily and permanently enjoined,
   17 Counterdefendants will have unfairly derived and will continue to unfairly derive
   18 income, profits and business opportunities as a result of their wrongful acts.
   19        53.    Pursuant to Cal. Bus. & Prof. Code §17200, Counterclaimants seek an
   20 order of this Court preliminarily and permanently enjoining Counterdefendants from
   21 continuing to engage in the unlawful, unfair or fraudulent acts or practices set forth
   22 herein, as well as restitution or disgorgement of any monies received by
   23 Counterdefendants through such acts or practices.
   24                      SIXTH COUNTERCLAIM FOR RELIEF
   25     (Tortious Interference With Business Relationships And Prospective Economic
   26      Advantage Against Pollution Denim & Co., Dahan, and Cavalier Sportswear)
   27        54.    The allegations in the preceding paragraphs are incorporated by
   28 reference.
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    1         55.    Counterdefendants have tortiously interfered with Counterclaimants’
    2 existing and/or prospective business or contractual relationships. They acted with
    3 knowledge of Counterclaimants’ business relationships and with the intent to
    4 interfere with those relationships, without any privilege to do so. Their acts were
    5 done with knowledge of Counterclaimants’ prior use of the “Pollution Clothing”
    6 name and mark for clothing, and were willful, deliberate, and done with malice.
    7 Their malicious intent is shown by, among other things, their deliberate efforts to
    8 force Counterclaimants to give up their name and mark even after they were made
    9 aware     of    Counterclaimants’    prior      use;   by   their   communications     to
   10 Counterclaimants’ customers and distributors, despite that knowledge, asserting that
   11 Counterclaimants were violating their rights, and by threats of retaliation against
   12 Counterclaimants’      customers    if   they     continued    to   do   business    with
   13 Counterclaimants; by the submission of false declarations in an effort to obtain a
   14 temporary restraining order to keep Counterclaimants from appearing at the August
   15 2007 Pool Trade Show; and by their fraudulent fabrication of falsified commercial
   16 documents purporting to show dates of use of the “Pollution” mark earlier than their
   17 actual dates of use.
   18         56.    Counterclaimants have been damaged by Counterdefendants’ unlawful
   19 acts. In the event tortious interference is found, Counterclaimants are entitled to
   20 recover their actual damages, disgorgement of any profits attributable to the tortious
   21 interference, a permanent injunction, and exemplary damages as permitted by law.
   22                    SEVENTH COUNTERCLAIM FOR RELIEF
   23                   (Civil Conspiracy Against Pollution Denim & Co.,
   24                            Dahan, and Cavalier Sportswear)
   25         57.    The allegations in the preceding paragraphs are incorporated by
   26 reference.
   27         58.    Counterdefendants Pollution Denim & Co. and Cavalier Sportswear
   28 have conspired, with the active direction, control, and participation of
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    1 Counterdefendant Dahan, to falsify commercial documents purporting to show dates
    2 of use of the “Pollution” mark earlier than their actual dates of use; to deceive the
    3 Court, the U.S. Patent and Trademark Office, and Counterclaimants concerning the
    4 dates of first use of the mark “Pollution;” and to extort money from
    5 Counterclaimants through the use of fabricated documents and false representations
    6 concerning their use of the mark “Pollution.”
    7        59.    Counterdefendants have committed overt acts in furtherance of their
    8 conspiracy, including but not limited to the fabrication of falsified commercial
    9 documents purporting to show the sale of “Pollution” merchandise that never
   10 occurred; claiming false dates of use of the “Pollution” mark in filings with the
   11 United States Patent and Trademark Office; and falsely representing in pleadings
   12 filed in this Court when they began using the “Pollution” mark and how long
   13 Pollution Denim & Co. has been in existence.
   14        60.    Counterdefendants’ conspiracy was conceived and formed and has
   15 been carried out for the purpose and with the intent of injuring Counterclaimants,
   16 driving them out of business, stealing their rights to the name and mark “Pollution
   17 Clothing,” and illegally extorting money from them.
   18        61.    Counterclaimants have been injured as a proximate result of
   19 Counterdefendants’ conspiracy, for which Counterdefendants are jointly and
   20 severally liable. Unless enjoined, Counterdefendants will continue their unlawful
   21 acts, causing irreparable harm to Counterclaimants for which they have no adequate
   22 remedy at law.
   23        62.    Counterclaimants are entitled to injunctive relief and to their actual
   24 damages, punitive damages, costs of suit, and reasonable attorneys’ fees, in addition
   25 to any other available remedies.
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    1                                PRAYER FOR RELIEF
    2 Counterclaimants respectfully request the following relief:
    3        A.     Dismissal of the Complaint of Counterdefendant Pollution Denim &
    4 Co. in its entirety, with prejudice;
    5        B.     Declaratory Judgment that Counterclaimants’ use of the “Pollution
    6 Clothing” name and trademark for clothing does not infringe or otherwise violate
    7 any trademark rights or other rights of Counterdefendants under federal or state law;
    8 and that Counterclaimants have the right to use the “Pollution Clothing” mark in
    9 connection with clothing in Oklahoma and throughout the United States;
   10        C.     Declaratory Judgment that Counterclaimants’ rights to the “Pollution
   11 Clothing” trademark for clothing are superior to any rights that Counterdefendants
   12 may have to “Pollution Denim & Co.,” “Skin Pollution,” “Pollution,” or any other
   13 name or mark containing the term “Pollution” in connection with clothing;
   14        D.     Declaratory Judgment that Counterdefendant Dahan is not entitled to
   15 registration of the mark “Pollution” in the U.S. Patent and Trademark Office as
   16 sought in Application Serial No. 77067893 because he is not the prior user and
   17 because of the fraud committed in connection with that application;
   18        E.     An award to Counterclaimants of their damages, any profits of
   19 Counterdefendants, and any exemplary or enhanced damages to which they may be
   20 entitled under 15 U.S.C.§1117 or under state law, jointly and severally against the
   21 Counterdefendants where appropriate;
   22        F.     An order for the disgorgement and restitution by Counterdefendants of
   23 all money, benefits, or property acquired by any of them from any acts in violation
   24 of the California Unfair Competition Act, and an award of all such amounts to
   25 Counterclaimants;
   26        G.     Entry of a permanent injunction against Counterdefendants Pollution
   27 Denim & Co., Dahan, and Cavalier Sportswear enjoining them from any further
   28 unlawful acts and practices as found by the Court or jury;
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    1        H.    An order directing the cancellation, restriction, or reformation of
    2 Counterdefendants’ federal registration for “Skin Pollution,” as appropriate;
    3        I.    A finding that this is an exceptional case and that Counterclaimants are
    4 entitled to their reasonable attorneys’ fees under 15 U.S.C. § 1117, or under any
    5 other applicable law;
    6        J.    An award to Counterclaimants of their costs of suit;
    7        K.    Prejudgment and post-judgment interest according to law; and
    8        L.    An award to Counterclaimants of any other relief that the Court finds to
    9 be appropriate and equitable under the circumstances.
   10
   11 DATED: December 28, 2007            PRUETZ LAW GROUP LLP

   12                                     OSHA LIANG LLP
   13
   14                                     By /s/ Richard S. Siluk
   15                                         Richard S. Siluk
                                              Attorneys for Defendants and
   16                                         Counterclaimants Pollution Clothing LLC and
   17                                         Jordan Scott Wunder

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